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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


MATTHEW AARON ESCALANTE,

                                       Petitioner,

               v.                                                  CASE NO. 23-3232-JWL

PAUL W. BURMASTER, et al.,


                                       Respondents.


                               MEMORANDUM AND ORDER


       This matter is a pro se petition for writ of habeas corpus filed pursuant to 28 U.S.C. § 2241

by Petitioner Matthew Escalante (Doc. 1), filed October 18, 2023. It comes before the Court on

Petitioner’s motion to dismiss. (Doc. 3.) The Court has reviewed the motion and finds dismissal is

proper under Federal Rule of Civil Procedure 41(a).

       IT IS THEREFORE ORDERED that Petitioner’s motion to dismiss (Doc. 2) is granted

and this action is dismissed without prejudice under Fed. R. Civ. P. 41(a).


       IT IS SO ORDERED.

       DATED: This 20th day of October, 2023, at Kansas City, Kansas.



                                             S/ John W. Lungstrum

                                             JOHN W. LUNGSTRUM
                                             United States District Judge




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